     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 1 of 24




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    (>3;@F;88D %3:7@6D3?;@%  :7D74KEF3F7E:;E5A?B>3;@F8AD

6783?3F;A@393;@EF787@63@F&,@;H7DE3>%76;3$$P&,@;H7DE3>Q3E

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           +:;EA?B>3;@F3D;E7E8DA?3E7D;7EA8%*&4DA3653EFE79?7@FE

F:3F5A@F3;@?G>F;B>783>E73@66783?3FADKEF3F7?7@FEA83@65A@57D@;@93BD;H3F7

8;9GD7D %3:7@6D3?;@%  F:3F355GE7:;?A8B7D8AD?;@9?3EE

:KEF7D75FA?;7EF:3FI7D7@AF?76;53>>K@757EE3DKA@;??;9D3@FIA?7@67F3;@763F

F:7"DI;@AG@FK7F7@F;A@7@F7DP"Q 

          +:74DA3653EFE79?7@FE3;D76A@ 736>;@7I;F:&;5A>>7.3>>357

A@AD34AGF*7BF7?47D   >>"@I;F::D;E!3K7EA@AD34AGF
     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 2 of 24




*7BF7?47D   >>"@I;F::D;E!3K7EA@AD34AGF*7BF7?47D   

3@6+:7)35:7>%366AI*:AIA@AD34AGF*7BF7?47D   3@6>>"@

I;F::D;E!3K7EA@AD34AGF*7BF7?47D   5A>>75F;H7>KD787DD76FA:7D7;@

3EP4DA3653EFEQ 

             +:79;EFA8F:74DA3653EFE83>E7>KBADFD3KED ?;@A847;@93@

34GE;H7G@7F:;53>3@66;E:A@7EFB:KE;5;3@I:AFD73F763@6AB7D3F76A@;??;9D3@F

IA?7@;@3@34GE;H783E:;A@I;F:AGF5A@E7@F3@6?AF;H3F764KBDA8;F;@EF736A8

CG3>;FK:73>F:53D7 

             +:783>E73@66783?3FADKEF3F7?7@FE;@F:74DA3653EFE5A@H7KFAF:7

3H7D397H;7I7D>;EF7@7D3@6D7367DF:3FD ?;@I3E3@7H;>6A5FADE77=;@9FA

53DDKAGF3EF7D;>;L3F;A@53?B3;9@A@;??;9D3@FIA?7@67F3;@763FF:7" 

             +:7EF3F7?7@FE3@6;@E;@G3F;A@E>7H7>76FAI3D6D ?;@I7D7

D75=>7EEH;>73@667HA;6A83@K6757@5KAD5A@57D@8ADD ?;@RED7BGF3F;A@3@6

>;H7>;:AA6 

             +:74DA3653EFE3D783>E73@66;E5D76;F76 

             "@835FD ?;@B7D8AD?76:KEF7D75FA?;7EA@B3F;7@FE8DA?

F:7" AF:I7D7?76;53>>K@757EE3DK 

             "@4AF:;@EF3@57EF:7B3F;7@FEI7D7;@8AD?763@65A@E7@F76FAF:7

BDA576GD7E "@4AF:;@EF3@57EF:7,@;F76*F3F7E"??;9D3F;A@3@6GEFA?E

                                            
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     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 3 of 24




@8AD57?7@FP"Q5A@6G5F763@;@67B7@67@FD7H;7IA8F:7FD73F?7@FB>3@E3@6

3BBDAH76F:7BDA576GD7E 

              +:783>E73@66783?3FADKEF3F7?7@FEI7D7BG4>;E:76;@@3F;A@3>3@6

;@F7D@3F;A@3>F7>7H;E;A@4DA3653EFEA@>;@7H;67AEA@>;@73DF;5>7E3@6EA5;3>?76;3

BAEFE 

               +:783>E73@66783?3FADKEF3F7?7@FE3EE3EE;@3F76D ?;@RE

5:3D35F7D3@663?3976:;ED7BGF3F;A@3E3B:KE;5;3@ 

               %*&3@6;FEID;F7DED7BADF7DE3@64DA3653EF7DE343@6A@76

<AGD@3>;EF;5;@F79D;FK3@6@79>;97@F>K3@6D75=>7EE>KBG4>;E:76F:783>E73@6

6783?3FADK4DA3653EFE 

              +:7?76;3:3E3@;?BADF3@FDA>7FAB>3K;@AGDEA5;7FK GF;F6A7E@AF

:3H73@G@87FF7D76D;9:FADBD;H;>797G@67DF:7;DEF?7@6?7@FFA;@<GD7F:7

D7BGF3F;A@EA8BD;H3F7;@6;H;6G3>E4KBG4>;E:;@93@64DA3653EF;@983>E73@6

6783?3FADKEF3F7?7@FE393;@EFF:7? 

              "@6776;F;EF:7?76;3RE;?BADF3@FDA>7;@EA5;7FKF:3F67?3@6E;F97F

4DA3653EFED;9:F478AD73;D;@9F:7?35DAEEF:75AG@FDK3@63DAG@6F:79>A47 

              "@EF736A85A@E;67D;@9;FE;?BADF3@FDA>7;@E:3D;@9@7IE3@6FDGF:

%*&5:AE7FA5:3E7383>E7@3DD3F;H7F:3F876D3F;@9E3>>3FF:77JB7@E7A8D 

?;@3BD;H3F7;@6;H;6G3>39AA63@6FDGEF766A5FADO3@;??;9D3@F:;?E7>8O

                                             
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     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 4 of 24




I:A:3E676;53F76:;E>;87FABDAH;6;@9CG3>;FK:73>F:53D7E7DH;57E8AD?3D9;@3>;L76

3@6G@67DE7DH765A??G@;F;7E 

           E3D7EG>FA8F:75A@6G5F67E5D;476:7D7;@%*&5DAEE76F:7

F:D7E:A>68DA?EB775:BDAF75F764KF:7;DEF?7@6?7@FFA7@F7DF:73D7@3A8

35F;A@34>76783?3F;A@8ADI:;5:;F?GEF47:7>6>793>>K355AG@F34>7 

                                      

           D ?;@;E3@;@6;H;6G3>I:AD7E;67E;@AG9>3E 7AD9;3A8877

AG@FK 

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;@5ADBAD3F76;@7>3I3D7I;F:;FEBD;@5;B3>B>357A84GE;@7EE;@&7I/AD= 

           &,@;H7DE3>3EF:7AI@7D3@6AB7D3FADA8%*&;E>;34>78ADF:7

35F;A@EA8%*&;@5>G6;@9;FEID;F7DED7BADF7DE3@64DA3653EF7DE 

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           D ?;@;E35;F;L7@A8F:7*F3F7A8 7AD9;38ADBGDBAE7EA86;H7DE;FK

<GD;E6;5F;A@G@67D, *  M  

           &,@;H7DE3>;E35;F;L7@A87>3I3D7AD&7I/AD=8ADBGDBAE7EA8

6;H7DE;FK<GD;E6;5F;A@G@67D, *  M  

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       Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 5 of 24




            +:;EAGDF:3EAD;9;@3>EG4<75F?3FF7D<GD;E6;5F;A@A8F:;E35F;A@

BGDEG3@FFA, *  M 3EF:7D77J;EFE5A?B>7F76;H7DE;FKA85;F;L7@E:;B

47FI77@D ?;@3@6&,@;H7DE3>3@6F:73?AG@F;@5A@FDAH7DEK7J5776E

     7J5>GE;H7A8;@F7D7EF3@65AEFE 

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            D ?;@I3E4AD@D3;E763@65A?B>7F76?76;53>E5:AA>;@"@6;3 

            D ?;@9D7IGBH7DKBAAD>;H;@9;@:A?7EI;F:6;DF8>AADE GF:;E

B3D7@FEE35D;8;576FA:7>B:;?F:DAG9:?76;53>E5:AA> !;EB3D7@FEEA>6F:7A@>K

>3@6F:7KAI@763@64ADDAI76?A@7KFA?3=7EGD7:75AG>68;@;E::;E76G53F;A@ 

            D ?;@>;H76GBFA:;EB3D7@FERE35D;8;57475A?;@9A@7A8A@>K

7;9:FAGFA8    ?76;53>EFG67@F:AB78G>EI:A5AG>6G>F;?3F7>K7@DA>>;@?76;53>

E5:AA>8DA?:;E6;EFD;5F;@"@6;3 

            .:7@:78;DEF53?7FAF:7,@;F76*F3F7E:7IAD=76;@3&7I/AD=

;FKEG4I3KEFAD73@6EA>6@7IEB3B7DE;@DAA=>K@IAD=;@9 :AGDE363KE;J




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     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 6 of 24




63KE3I77=3>>I:;>7EFG6K;@98AD366;F;A@3>?76;53>7J3?ED7CG;D76A88AD7;9@

EFG67@FE 

           !75A?B>7F76:;E)7E;67@5K;@ K@75A>A9K;@F:7,@;F76*F3F7E3@6

:3E477@>;57@E76FABD35F;57?76;5;@7;@ 7AD9;38ADAH7DK73DE 

            D ?;@D7?7?47DE:;E:G?4>7479;@@;@9E3@6F:7BAI7DA8

EA?7A@7E35D;8;5;@9EAF:3FAF:7DE53@:3H7347FF7D8GFGD7 +:3F;EI:K:7:3E

BD35F;576;@G@67DE7DH763D73E@73D>K:;E7@F;D7?76;53>53D77D 

            'H7DF:75AGDE7A8:;E?76;53>53D77DA@3D79G>3D43E;E:7:3E

IAD=76 :AGDE:;8FEE77@AH7D B3F;7@FE;@363K3@667>;H7D76AH7D     

434;7E;@3K73D 

           !7:3EA8F7@IAD=768AD8D773@68AD?3@KK73DE:7=7BFD79G>3D63;>K

A88;57:AGDE3@6B7D8AD?76:AEB;F3>EGD97D;7E3F@;9:F3>>FA7@EGD7F:3FO3E?G5:

3E:75AG>6BD7H7@F;FO@AA@7I:A@7767653D7IAG>69AI;F:AGF 

           D ?;@D79G>3D>KFD73FEG@;@EGD76B3F;7@FEEA?7I:A6D;H7AH7D

    ?;>7EFAE77:;?3@63557BFEI:3F7H7DB3F;7@FE53@B3K;@D7FGD@ 

           !7@7H7DFGD@E3I3K3B3F;7@F8AD;@34;>;FKFAB3K 

           !7D79G>3D>KFD73F76B3F;7@FE;@3D73<3;>E4753GE7:7=@AIEF:3F;8:7

6A7E@AFBDAH;67FD73F?7@F;F;E>;=7>KF:7B3F;7@FEI;>>9AI;F:AGF 




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     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 7 of 24




          ,@F;>>3EFK73DD ?;@I3EF:7EA>7'      /&B:KE;5;3@;@"DI;@

AG@FK 7AD9;3 FF:7BD7E7@FF;?7D ?;@;EA@7A8A@>KFIA'         /&

B:KE;5;3@E;@"DI;@AG@FK 7AD9;3 

          %3@K;8@AF?AEFA8D ?;@REB3F;7@FE83>>47>AIF:7BAH7DFK>;@7

3@63D7A@%76;53;6 

          D ?;@BDAH;67E?76;53>53D7FAB3F;7@FE3F3>A53>:73>F:5>;@;53F

>73EFA@57B7DI77=A@3HA>G@F3DK43E;E 

          ,@F;>>3EFK73DD ?;@BDAH;6769K@75A>A9;53>?76;53>E7DH;57EFA

B3F;7@FE67F3;@763FF:7" 

           "@F:773D>KFA?;6  E"DI;@AG@FK!AEB;F3>I3EA@F:74D;@=A8

5>AE;@9;FE6AADE D ?;@BGFGB:;EAI@?A@7K:;D763?3@397?7@FF73?3@6

=7BFF:7:AEB;F3>3>;H7 "@6776F:7:AEB;F3>;?BDAH76I;F:D ?;@RE

>7367DE:;BO366;@9?AD7B3F;7@FDAA?E3@6E7H7D3>AF:7DGB9D367E 

           D ?;@:3E@AFF3=7@3H353F;A@;@AH7DK73DE 

          '@:;ED3D7I77=7@6E3I3K:7D7?3;@EPA@53>>Q3@6;@EFDG5FE:;E

@GDE;@9EF388FA53>>:;?;83@KA8:;EB3F;7@FE9A;@FA>34ADEAF:3F:753@D7FGD@3@6

67>;H7DF:7434;7E3@653D78ADF:7;D?AF:7DE 

          D ?;@>AH7EF:;E5AG@FDK3@63>>;F:3E388AD676:;?3@6:7;E

67F7D?;@76FA9;H7435= 

                                           
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     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 8 of 24




          !7;E67HAF76FA?76;5;@73@6FABDAH;6;@953D7FAG@67DE7DH76

5A??G@;F;7E 

        !+.!(!,'!..!,) ,*&!.*/.$2-(! %(+%#)

          '@*7BF7?47D   (DA<75F*AGF:3@AD93@;L3F;A@F:3FBADFD3KE

;FE?;EE;A@3EP7>;?;@3F;@9BAH7DFK3@697@A5;67Q3@6P5G>F;H3F;@9EFDA@9EA5;3>

?AH7?7@FEQE7@F3>7FF7DFAF:77B3DF?7@FA8!A?7>3@6*75GD;FKF:7"

F>3@F3;7>6'88;573@6F:7"P>7FF7DQ 

          +:7>7FF7DI3E@AFB3DFA835A?B>3;@F8;>76;@3@K5AGDFADEG4?;FF76

3EB3DFA83@K36?;@;EFD3F;H7BDA5776;@9 

          3I@.AAF7@F:73>>7976EAGD57A8F:7;@8AD?3F;A@5A@F3;@76;@F:7

>7FF7D6;6@AFE77=FA473@A@K?AGE3@66;6@AFE77=3@KAF:7DBDAF75F;A@EF:3F

5AG>647388AD676FAFDG7I:;EF>74>AI7DEI:A8;>78AD?3>5A?B>3;@FE "@6776E:7

EAG9:FF:7>;?7>;9:F9A;@9EA83D3EFAEA>;5;F8G@6EF:DAG9:3 AG@6%7B397

I:;5::3E97@7D3F76AH7D          ;@6A@3F;A@EFA63F7 

          +:7>7FF7D6;6@AF;67@F;8KD ?;@ 

          +:7>7FF7D5A@F3;@763>>793F;A@ED793D6;@95A@6;F;A@E3FF:7"

?AEF>KD7>3F;@9FA'-"  +:7>7FF7D3>EA5A@F3;@763>>793F;A@EA8:;9:D3F7EA8

:KEF7D75FA?;7E3FF:7" 




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       Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 9 of 24




             "@EF736A8I3;F;@98AD3@;@H7EF;93F;A@;@FAF:73>>793F;A@E(DA<75F

*AGF:;??76;3F7>KIAD=76FAE7@E3F;A@3>;L7F:75A@F7@FEA8F:7>7FF7D4KE:3D;@9;F

I;67>KI;F:F:7@7IE?76;3 

                       2-"'-!)  !"(.*,1,* -.-
                                        
             %*&4793@BG4>;E:;@983>E73@66783?3FADKEF3F7?7@FE34AGFD 

?;@A@*7BF7?47D   3@65A@F;@G76FA6AEAF:DAG9:3F>73EF*7BF7?47D

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            %*&BG4>;E:7683>E73@66783?3FADKEF3F7?7@FE47KA@6F:7

5A@F7@FEA8F:7>7FF7D 

            %*&355GE76D ?;@A8B7D8AD?;@9?3EE:KEF7D75FA?;7EF:3F

I7D7@AF?76;53>>K@757EE3DKA@"67F3;@77E 

            %*&?367;FE83>E73@66783?3FADK4DA3653EFEI;F:AGF3@K

;@H7EF;93F;A@;@FAF:7FDGF:AD83>E;FK3@6;@F:78357A85A@FD36;5FADK;@8AD?3F;A@

3>D736K=@AI@3FF:7F;?7A8F:74DA3653EFE 

            '@>KA@763K38F7DF:7>7FF7DI3EE7@F;FI3ED7H73>76F:3F3

3>>793F;A@EA8?3EE:KEF7D75FA?;7EI7D7@AF43E76A@8;DEF :3@6355AG@FE3@6I7D7

E:3D76;@F:7>7FF7DA@>K8AD78875F3@64"3@6"DI;@AG@FK!AEB;F3>

5A@8;D?76F:3FD ?;@:36B7D8AD?76A@>KFIA:KEF7D75FA?;7EA@"

B3F;7@FE 

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     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 10 of 24




            &A@7A8F:3F?3FF7D76FA%*& 

            %*&:363@3DD3F;H7F:3F3FFD35F76H;7I7DE8DA?;FEF3D97F

3G6;7@573@6EA%*&3;D76>;7EFA5:3E7D3F;@9E3@6?3=7?AD7?A@7K 

            %*&D7B73F76F:783>E73@66783?3FADKEF3F7?7@FEA@3F>73EF8;H7

E7B3D3F7E79?7@FEAH7D3F>73EF8AGD63KE67EB;F7=@AI;@9F:7FDGF: 

            %*&@7H7D;@H;F76D ?;@A@FA3@KA8;FEBDA9D3?EFAE:3D7F:7

FDGF: 

             %*&53@43D7>K47E3;6FA:3H7EAG9:F7H7@EA?G5:3E3

5A??7@F8DA?D ?;@D735:;@9AGFFA:;?A@>K>7EEF:3@ ?;@GF7E478AD7

3;D;@983>E73@66783?3FADKEF3F7?7@FE8ADF:7F:;D6F;?73@6>7EEF:3@E7H7D3>

:AGDE478AD73;D;@9F:7?8ADF:78;8F:F;?7 

             %*&I3E@AF;@F7D7EF76;@F:7FDGF:;FI3E;@F7D7EF76;@8776;@9

F:7D3F;@9E473EF 

            "F;E47KA@6D73EA@34>747>;78F:3F67F3;@77E;@3@"835;>;FKEG5:3E

"5AG>6G@67D9AEGDBD;E7:KEF7D75FA?;7EI;F:AGF5A@EG>F3F;A@3@65A@E7@F 

            "B7D8AD?E3@;@67B7@67@FD7H;7I8AD3>>EGD9;53>BDA576GD7E3@6

;EEG7E;FE3BBDAH3>AD67@;3>8ADEG5:BDA576GD7E 




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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 11 of 24




          +:;ED7H;7IBDA57EED7CG;D7E3@"@GDE73@63@;@67B7@67@F

B:KE;5;3@FAD7H;7I3B3F;7@FRE?76;53>D75AD6E3@667F7D?;@7;8F:7D7CG7EF76

BDA576GD7;E?76;53>>K@757EE3DK +:7BDA57EEFKB;53>>KF3=7E3DAG@6FIAI77=E 

          D ?;@:3E@7H7DB7D8AD?763BDA576GD7A@3@"B3F;7@F

I;F:AGF9A;@9F:DAG9:F:;EBDA57EE 

          "BDAH;676EG5:D7H;7I3@63BBDAH3>8AD4AF::KEF7D75FA?;7EF:3F

D ?;@B7D8AD?76A@"B3F;7@FE 

          @;@67B7@67@FB:KE;5;3@D7H;7IA8F:AE7BDA576GD7E5A@8;D?EF:3F

F:7BDA576GD7EI7D7?76;53>>K@757EE3DK3@6F:3FF:7BDA576GD7EI7D76;E5GEE76

I;F:3@65A@E7@F8ADF:7BDA576GD7EI3E9;H7@4K4AF:B3F;7@FE 

          D ?;@3>I3KEA4F3;@E;@8AD?765A@E7@F8DA?:;EB3F;7@FE 

          D ?;@GF;>;L7E;@F7DBD7F7DEI:7@FD73F;@9B3F;7@FEI:A6A@AFEB73=

ADG@67DEF3@6@9>;E: 

           .:7@D ?;@FD73F76"B3F;7@FE:7I3EEGB7DH;E764K3F>73EF

A@7AF:7DB7DEA@ +:;EI3E3?3FF7DA8BDAFA5A> 

           D ?;@:3E@7H7DFD73F763@KB3F;7@FDAG9:>KAD;@3BBDABD;3F7>K 

                                        

          D ?;@;@5ADBAD3F7E4KD787D7@57B3D39D3B:E  A8F:;EA?B>3;@F

3EF:AG9:F:7E3?7I7D7E7F8ADF::7D7;@;@F:7;D7@F;D7FK 

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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 12 of 24




                                       ,* -.-

          +:74DA3653EFE5A@H7K39DAEE>K;@355GD3F73@683>E7;?BD7EE;A@A8

D ?;@ 

          +:79;EFA8F:74DA3653EFE;E83>E73@66783?3FADK;@5A@H7K;@9

355GE3F;A@EF:3FD ?;@;E3@G@7F:;53>3@66;E:A@7EFB:KE;5;3@I;F:@AD793D6

8ADF:7E387FK3@6I7>> 47;@9A8:;EB3F;7@FE3@6F:3F:735F;H7>K3@6;@F7@F;A@3>>K

EAG9:FFA:GDFF:7? 

          +:74DA3653EFE;@5>G6783>E73@66783?3FADKEF3F7?7@FEI:;5:I:7@

BGF;@F:75A@F7JFA8735:4DA3653EF3@6F:74DA3653EFE3E3I:A>75A@H7K383>E7

3@66783?3FADK;?397A8D ?;@ 

          ;DEFA@736>;@7I;F:&;5A>>7.3>>357I:;5:3;D76A@AD34AGF

*7BF7?47D   %*&BG4>;E:76F:78A>>AI;@983>E73@66783?3FADK

EF3F7?7@FEA83@65A@57D@;@9D ?;@

             3   !;9:@G?47DEA887?3>767F3;@77E67F3;@76
                    ;??;9D3@FE3F3@"67F7@F;A@57@F7D;@ 7AD9;3
                    D757;H76CG7EF;A@34>7:KEF7D75FA?;7EI:;>7;@"
                    5GEFA6K 
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             4   .A?7@I7D738D3;6FA9AFAF:;E6A5FAD 
             
             5   *A?7E3;6F:3FF:7K53?7435=4DG;E763@6F:3F:7
                    I3EAH7D>K:3DE: 
             
             6   +:7K53>>76:;?34GE;H7 

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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 13 of 24




             
             7   +:7D7I7D7IA?7@I:AI7D7FA>6F:3FF:7K@77676
                    3:KEF7D75FA?K4753GE7F:7K:3653@57D '@7A8
                    F:AE7IA?7@:7D?76;53>D75AD6E6A7E@AF
                    ;@6;53F7F:3FE:77H7D:3634;ABEKFA;@6;53F7F:3F
                    E:7:3653@57D3@63@AF:7D53E73>3IK7DFA>6?7
                    F:3F:;E5>;7@F:363:KEF7D75FA?K4753GE7E:7I3E
                    FA>6E:7:36EF3978AGD57DH;53>53@57D3@638F7D
                    F:7:KEF7D75FA?KI:7@E:7I7@FFAF:7A@5A>A9;EF
                    F:7A@5A>A9;EFE3;6KAG6A@AF:3H753@57DEA
                    F:7E73D73>3D?;@93>>793F;A@E34AGFF:;E6A5FAD 
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             8   +:;E;E:;EEB75;3>FK:7REF:7GF7DGE5A>>75FAD 
             
             9   .7>>I:3F;E:76A;@9N5A>>75F;@93>>A8AGD
                    GF7DGE7E
             
             :   'GD5>;7@FE3D738D3;6FA9A435=FA:;?:7RE
                    :GDF;@9F:7E7IA?7@ 
             
             ;   @6B7D:3BE6A;@9H7DKG@@757EE3DKBDA576GD7E
                    3@6@AFI:3FKAGIAG>6@776;@3E:ADF F7D?
                    67F7@F;A@E;FG3F;A@ 
      
          *75A@6A@>>"@I;F::D;E!3K7EI:;5:3;D76A@AD34AGF

*7BF7?47D   %*&BG4>;E:76F:78A>>AI;@983>E73@66783?3FADK

EF3F7?7@FEA83@65A@57D@;@9D ?;@

             3   %;9D3@FIA?7@E3KF:3F36A5FADI3EB7D8AD?;@9
                    G@3GF:AD;L76:KEF7D75FA?;7EA@;??;9D3@FIA?7@
                    67F3;@763FF:3F835;>;FK 
             
             4   +IAA8:;E5>;7@FED757;H76:KEF7D75FA?;7EF:7K
                    47>;7H7?3K:3H7477@G@@757EE3DK 
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       Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 14 of 24




               5   +IA6;887D7@FIA?7@I:A5>3;?F:7K3>EA:36
                      G@@757EE3DK:KEF7D75FA?;7EI:;>767F3;@763FF:;E
                      835;>;FK 
               
               6   E?3@K3E ;??;9D3@FIA?7@I7D79;H7@8G>>
                      ADB3DF;3>:KEF7D75FA?;7EADAF:7DBDA576GD7E8AD
                      I:;5:@A?76;53>;@6;53F;A@7J;EF76 
               
               7   "E:7F:7GF7DGE5A>>75FADA7E:75A>>75F
                      GF7DGE7E
               
               8 H7DKA@7F:3F"F3>=76FA:3E:363:KEF7D75FA?K 
               
               9 +:7KIAG>6E3K;E:7F:7GF7DGE5A>>75FAD
               
            +:;D6A@>>"@I;F::D;E!3K7EI:;5:3;D76A@AD34AGF*7BF7?47D

      %*&BG4>;E:76F:78A>>AI;@983>E73@66783?3FADKEF3F7?7@FEA83@6

5A@57D@;@9D ?;@

               3   +:7KI7D7EG4<75F76FAG@@757EE3DK
                      :KEF7D75FA?;7E3FF:7:3@6EA83>A53>'       /& 
               
               4   ,F7DGE5A>>75FAD 
               
               5   +:D77IA?7@I:AE3KF:3FF:7K:36BDA576GD7E
                      F:3FF:7K7;F:7D6;6@AF5A@E7@FFA3:736A8F;?7AD
                      87>F5A7D576;@FA5A@E7@F;@9FA 
               
               6   *:787>FBD7EEGD76;@FA38G>>346A?;@3>
                      :KEF7D75FA?K4KF:;E6A5FAD 
               
               7   D ?;@<GEFFA>6?7>;EF7@KAGRD79A@@397F
                      :KEF7D75FA?K6A@73@6E5:76G>73@3BBA;@F?7@F
                      8ADF:3F":36@AE3K;@F:;E 

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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 15 of 24




          AGDF:A@+:7)35:7>%366AI*:AII:;5:3;D76A@AD34AGF

*7BF7?47D   %*&BG4>;E:76F:78A>>AI;@983>E73@66783?3FADK

EF3F7?7@FEA83@65A@57D@;@9D ?;@

             3   "??;9D3@FIA?7@3FF:3F835;>;FK:3H7FA>6:7DF:3F
                    F:7KDAGF;@7>K:3H7477@E7@FFA39K@75A>A9;EF
                    I:A:3EB7D8AD?76G@@757EE3DKBDA576GD7EA@
                    F:7?;@5>G6;@9:KEF7D75FA?;7E 
             
             4   +:7K:3H7477@E7@6;@9;??;9D3@FIA?7@;@F:7;D
                    53D7;@F:7;D5GEFA6KFA36A5FADI:A:3ED7?AH76
                    F:7;DD7BDA6G5F;H7AD93@E8AD@A?76;53>D73EA@
                    3@6I;F:AGFF:7?5A@E7@F;@9FA;F 
             
             5   ;H76;887D7@FIA?7@47FI77@'5FA47D
                    &AH7?47D3@6757?47D AH7DF:3FF:D77
                    ?A@F:B7D;A68;H76;887D7@FIA?7@I:AR6:363
                    :KEF7D75FA?K6A@7 
             
             6   "F:AG9:FF:;EI3E>;=73@7JB7D;?7@F3>
                    5A@57@FD3F;A@53?B "FI3E>;=7F:7KRD7
                    7JB7D;?7@F;@9I;F:AGD4A6;7E 
             
             7   H7DK4A6KF:;E6A5FADE77E:3E3:KEF7D75FA?K
                    <GEF34AGF7H7DK4A6K 
             
             8   !7RE7H7@F3=7@AGFF:7IDA@9AH3DKA@A@7
                    67F3;@76;??;9D3@FIA?3@ *:7I3EEGBBAE76FA
                    97F:7D>78FAH3DKD7?AH764753GE7;F:3635KEFA@
                    F:7>78FAH3DK !7FAA=AGFF:7D;9:FA@7 *:7:36
                    FA9A435=FAF3=7AGFF:7>78F3@6IAG@6GBI;F:3
                    FAF3>:KEF7D75FA?K 
             
             9   !7REF3=;@97H7DK4A6KEFG88AGFF:3FRE:;E
                    EB75;3>FK 
                                           
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       Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 16 of 24




               :   !7REF:7GF7DGE5A>>75FAD 
               
               ;   "E:75A>>75F;@9F:7E7F:;@9EADEA?7F:;@9
               
               <   H7DK4A6K:7E77E:7REF3=;@93>>F:7;DGF7DGE7EAGF
                      AD:7REF3=;@9F:7;DFG47EAGF 
               
               =   !7D7?AH76F:7GF7DGE7EA8F:7E7D78G977IA?7@
                      8AD@A?76;53>D73EA@I;F:AGFF:7;DBDAB7D
                      ;@8AD?765A@E7@F 
               
               >   +IAIA?7@I:AI7D767F3;@763FF:7835;>;FKE3K
                      F:7KD757;H76:KEF7D75FA?;7EF:3FF:7K47>;7H7?3K
                      :3H7477@G@@757EE3DK 
               
               ? *:7I7@FFAF:;E6A5FADREA88;578AD3@7J3? +:7
                    7J3?>78F:7DI;F:4DG;E;@9
        
             ;8F:A@>>"@I;F::D;E!3K7EI:;5:3;D76A@AD34AGF*7BF7?47D

      %*&BG4>;E:76F:78A>>AI;@983>E73@66783?3FADKEF3F7?7@FEA83@6

5A@57D@;@9D ?;@

               3   .7H7477@4D;@9;@9KAGF:7EFADKA83>>793F;A@EA8
                      ?76;53>BDA576GD7EB7D8AD?76A@;??;9D3@F
                      IA?7@I;F:AGF ?3@KI;F:AGF5A@E7@F3F3@"
                      67F7@F;A@835;>;FK;@ 7AD9;3 
                      
               4   7>F>;=7":36@AD;9:FFAE3K3@KF:;@934AGF3
                      :KEF7D75FA?KE:7G@67DI7@FF:3FI3EB7D8AD?76
                      4K36A5FAD@3?76%3:7@6D3?;@ *:73>EAFA>6
                      GE34AGF:AID ?;@B7D8AD?763@G@7JB75F76
                      H39;@3>G>FD3EAG@6F:3FE:7I3EE:7E3KE@AF
                      BD7B3D768AD 
        
                                             
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     Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 17 of 24




              5   !76;6@FF7>>?7@AF:;@9:7<GEF ;@EF736:7
                     BDA577676I;F:H39;@3>G>FD3EAG@6"F:;@= ?"
                     E3K;@9;FD;9:FGF"I3E@AF3I3D7A8F:3F 
       
              6   &A@AF3F3>>0"I3E@AFBD7B3D768ADF:3F1 &A *A
                     "87>FH;A>3F76 @6<GEFKAG=@AI=77B6A;@9F:7
                     BDA576GD7EF:7G>FD3EAG@6 
         
            %*&3@6;FED7BADF7DED7B73F76F:7;D83>E73@66783?3FADK

EF3F7?7@FEA83@65A@57D@;@9D ?;@A@+I;FF7DA@3F>73EFF:D77A553E;A@EA@

*7BF7?47D   3@6*7BF7?47D  

           +:74DA3653EFE3@6FI77FE5A@EF;FGF7>;47>3@6 ADE>3@67D;@F:3F

F:7K6;D75F>K3@6 AD;?B>;5;F>K;?BGF735F;A@EFAD ?;@F:3F;@<GD7:;E

BDA87EE;A@3>D7BGF3F;A@ 

           +:74DA3653EFE3@6FI77FE5A@EF;FGF7>;47>3@6 ADE>3@67D;@F:3F

F:7K6;D75F>K3@6 AD;?B>;5;F>K;?BGF7E35F;A@EFAD ?;@F:3F3D76783?3FADK3@6

;@<GD;AGEFA:;ED7BGF3F;A@A@F:7;D83573@653@47EAG@67DEFAA6I;F:AGFD787D7@57

FA3@K366;F;A@3>AD7JFD;@E;5835FE 

                          /'%.%*)0%.$./'('%!
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           H;67@5;@93D75=>7EE6;ED793D68ADFDGF:AD83>E;FK%*&

=@AI;@9>K3@6BGDBAE7>K3HA;676F:7FDGF:3@6;9@AD767H;67@577EF34>;E:;@9F:7

83>E;FKA8F:7;DEF3F7?7@FEBD;ADFAF:7;DBG4>;53F;A@ 


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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 18 of 24




          H;67@5;@93D75=>7EE6;ED793D68ADFDGF:AD83>E;FK%*&

4DA3653EF76355GE3F;A@E393;@EFD ?;@F:3FI7D7EA;@:7D7@F>K;?BDA434>7A@

F:7;D83573EFAD3;E7E7D;AGE6AG4FE34AGFF:7;DFDGF: 

          H;67@5;@93D75=>7EE6;ED793D68ADFDGF:AD83>E;FK%*&

4DA3653EF76355GE3F;A@E393;@EFD ?;@F:3FI7D7EAAGFD397AGEA@F:7;D83573E

FAD3;E7E7D;AGE6AG4FE34AGFF:7;DFDGF: 

          H;67@5;@93D75=>7EE6;ED793D68ADFDGF:AD83>E;FK%*&

4DA3653EF76355GE3F;A@E393;@EFD ?;@F:3F5A@FD36;5F76=@AI@835FE 

          H;67@5;@93D75=>7EE6;ED793D68ADFDGF:AD83>E;FK%*&

4DA3653EF76355GE3F;A@E393;@EFD ?;@I;F:AGF5A@6G5F;@97H7@35GDEADK

;@H7EF;93F;A@I:;5:83;>GD75A@EF;FGF7E9DAEE@79>;97@57 

          %*&:3635FG3>=@AI>7697F:3FF:7355GE3F;A@E393;@EFD ?;@

I7D783>E7BD;ADFABG4>;53F;A@ 

           %*&3@6&,@;H7DE3>8;@3@5;3>>K47@78;F768DA?H;7I7DE:;B

D7EG>F;@98DA?F:7E7D;3>83>E73@66783?3FADK4DA3653EFED793D6;@9D ?;@ 

           &AFI;F:EF3@6;@93>>F:7;@8AD?3F;A@3H3;>34>73@6EB75;8;53>>K

BDAH;676FA%*&%*&EF73683EF>KD78GE76FAD7FD35FAD5ADD75F;FE

6783?3FADKEF3F7?7@FE3@6;@EF7366AG4>766AI@A@F:7?;@F:74DA3653EFE

D7B73F76>KAH7D3F>73EF8AGD63KE 

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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 19 of 24




          %*&3@6;FED7BADF7DE3>EA=7BFF:783>E73@66783?3FADK

EF3F7?7@FE3>;H7A@EA5;3>?76;33E>3F73E*7BF7?47D  

          %*&@7H7D;@H;F76D ?;@FA3BB73DA@3@KA8F:74DA3653EFEFA

E:3D7F:7FDGF:7H7@F:AG9:%*&I3E3I3D7A8F:7FDGF: 

          '@G9GEF  *F357KH3@EA@47:3>8A8D ?;@E7@F3

>7FF7DFA%*&I:7D7;@E:7;@8AD?76%*&F:3FF:74DA3653EFEI7D783>E73@6

6783?3FADK3EFAD ?;@;@5>G6;@93>;EFA8F:783>E73@66783?3FADKEF3F7?7@FE

8DA?F:74DA3653EFE3@667?3@6763D7FD35F;A@3@65ADD75F;A@ 

          H;67@5;@935A@F;@G76D75=>7EE6;ED793D68ADFDGF:AD83>E;FK%*&

3@6&,@;H7DE3>83;>763@6D78GE76FABG4>;E:3D7FD35F;A@3@65ADD75F;A@A8F:7

83>E73@66783?3FADK355GE3F;A@E393;@EFD ?;@ 

                                       (#!-

          +:783>E73@66783?3FADK4DA3653EFEI7D7BG4>;E:76FAF:;D6B3DF;7E

3@6I7D7;@835FH;7I764KF:;D6B3DF;7E35DAEEF:7,@;F76*F3F7E3@63DAG@6F:7

IAD>6 

          +:783>E73@66783?3FADK4DA3653EFEI7D7A83@65A@57D@;@9D 

?;@4753GE73?A@9AF:7DD73EA@E%*&;67@F;8;76D ?;@4K@3?7;@

735:A8F:74DA3653EFEEA?7;@5>G6;@9:;EB;5FGD7 




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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 20 of 24




            E36;D75F3@6BDAJ;?3F7D7EG>FA8F:783>E73@66783?3FADK

EF3F7?7@FE34AGF:;?;@F:74DA3653EFED ?;@REB7DEA@3>D7BGF3F;A@3@6:;E

D7BGF3F;A@3E3B:KE;5;3@:3H7477@B7D?3@7@F>K63?3976 

            E36;D75F3@6BDAJ;?3F7D7EG>FA8F:783>E73@66783?3FADK

EF3F7?7@FE34AGF:;?;@F:74DA3653EFED ?;@:3EEG887D76EFD7EE7?AF;A@3>

6;EFD7EE7?43DD3EE?7@F:G?;>;3F;A@3@97D3@6AF:7D?7@F3>B3;@3@6EG887D;@9 

              E36;D75F3@6BDAJ;?3F7D7EG>FA8F:783>E73@66783?3FADK

EF3F7?7@FE34AGF:;?;@F:74DA3653EFED ?;@:3EEG887D76BG4>;5:3FD76

5A@F7?BFE5AD@3@6D;6;5G>7 

              D ?;@I3ED79G>3D>KEF3>=763@6AF:7DI;E78A>>AI764KB7AB>7

53>>;@9:;?@3?7E 

           D ?;@:3E477@F:7D75;B;7@FA8?G>F;B>7H;>73@6:3F78G>F7>7B:A@7

53>>E;@ B7DEA@5A??7@FEEA5;3>?76;35A??7@FE3@6?3;>F:3F@AB7DEA@E:AG>6

:3H7FA7@6GD7 

           D ?;@D757;H76673F:F:D73FE3@64A?4F:D73FE 

           D ?;@I3E53>>76P;@:G?3@QP5ADDGBFQP7H;>Q3@63P?A@EF7D Q

           *A?7:3H75A?B3D76D ?;@FAD #AE78%7@97>7F:7;@83?AGE

&3L;6A5FADI:AB7D8AD?76?76;53>7JB7D;?7@FE3FF:7GE5:I;FL673F:53?BE 

+:;E;E3?A@9E7H7D3>5A??7@F7DEI:A?3=7&3L;3@6!A>A53GEF5A?B3D;EA@E 

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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 21 of 24




           *A?7I7@FEA83D3EFA366D7EE:;?3EPD %7@97>7Q3@6FAID;F7FA

:;?F:3F:7PE:AG>647:G@94K0:;E197@;F3>E Q

           *A?7:3H75A?B3D76D ?;@FAF:7!A>>KIAA66A5FAD;@F:7?AH;7

 I:AD7?AH7E3B3F;7@FREAH3D;7EI:;>7;@FAJ;53F76 

           D ?;@I3E53>>763PD35;EFQI:A;EP36H3@5;@9D35;EFE;673>E Q

           !7I3E53>>763P>AI7D?;66>75>3EE4GD73G5D3F;53I;B7 Q

              !7I3EFA>6:7I3EP9A;@9EFD3;9:FFA:7>>8AD47;@9B3DFA8F:;EB;757

A8E:F Q

              '@75A??7@F7DE3;6FAD ?;@P5=KAG3@685=KAGDI:A>7

83?;>K4F5:4AK Q

           !7I3EFA>6FAPDAF;@:7>>Q3@6PDAF;@BD;EA@ Q

           D ?;@5A@F;@G7EFA873D8AD:;EE387FK !7873DEF:3FB7AB>73D7

8A>>AI;@9:;?3@6F3>=;@934AGF:;?;@BG4>;5 

           E36;D75F3@6BDAJ;?3F7D7EG>FA8F:783>E73@66783?3FADK

EF3F7?7@FE34AGF:;?;@F:74DA3653EFED ?;@:3EI;F:6D3I@8DA?EA5;3>3@6

5A??G@;FK35F;H;F;7E:7BD7H;AGE>K7@<AK76 

           E36;D75F3@6BDAJ;?3F7D7EG>FA8F:783>E73@66783?3FADK

EF3F7?7@FE34AGF:;?;@F:74DA3653EFED ?;@:3EEG887D76EB75;3>63?397E 




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    Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 22 of 24




           D ?;@:3E>AEFB3F;7@FE3F:;E?76;53>BD35F;573E36;D75F3@6

BDAJ;?3F7D7EG>FA8F:783>E73@66783?3FADKEF3F7?7@FE34AGF:;?;@F:7

4DA3653EFE 

           D ?;@:3E>AEF:;E34;>;FKFABDAH;67?76;53>E7DH;57EFAF:7"

B3F;7@FE3E36;D75F3@6BDAJ;?3F7D7EG>FA8F:783>E73@66783?3FADKEF3F7?7@FE

34AGF:;?;@F:74DA3653EFE 

           EE7F8ADF:34AH7F:74DA3653EFE3D76783?3FADK3@6>;47>AGE

7@F;F>;@9D ?;@FABD7EG?7663?397E 

           &,@;H7DE3>3@6%*&:3H7@AFD7FD35F76AD5ADD75F76F:7;D83>E7

3@66783?3FADKEF3F7?7@FE67EB;F7=@AI>7697A8F:7;D83>E;FK 

         +:75A@6G5FA8&,@;H7DE3>3@6%*&67?A@EFD3F7EI;>>8G>

?;E5A@6G5F3@63@7@F;D7I3@FA853D7F:3FD3;E7E35A@E5;AGE;@6;887D7@57FA

5A@E7CG7@57E 

         +:783>E73@66783?3FADK355GE3F;A@EI7D7BG4>;E:76I;F:

5A@EF;FGF;A@3>35FG3>?3>;57F:7D74K7@F;F>;@9D ?;@FA3@3I3D6A8BG@;F;H7

63?397E 

         D ?;@;E3>EA7@F;F>76FA3@3I3D6A8BG@;F;H763?397EFABG@;E:

&,@;H7DE3>8AD;FEG@>3I8G>5A@6G5F3@6FAB7@3>;L73@667F7D;F8DA?D7B73F;@9

EG5:G@>3I8G>3@679D79;AGE5A@6G5F 

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 Case 5:21-cv-00056-LGW-BWC Document 1 Filed 09/09/21 Page 23 of 24




.!)')D ?;@67?3@6E

  3+D;3>4K<GDK

  4+:3F<G69?7@F477@F7D76393;@EF&,@;H7DE3>8AD5A?B7@E3FADK

     63?397E;@3@3?AG@F@AF>7EEF:3@+7@%;>>;A@A>>3DE

                    

  5+:3F<G69?7@F477@F7D76393;@EF&,@;H7DE3>8ADBG@;F;H763?397E;@

     3@3?AG@F@AF>7EEF:3@+I7@FK%;>>;A@A>>3DE                FA

     BG@;E:3@6B7@3>;L7&,@;H7DE3>3@667F7D;F8DA?D7B73F;@9;FE

     G@>3I8G>5A@6G5F

  6+:3F3>>5AEFEA8F:;E35F;A@473EE7EE76393;@EF&,@;H7DE3>3@6

  7+:3FF:;EAGDF3I3D6EG5:AF:7DD7>;783E;F677?E7CG;F34>7<GEF3@6

     BDAB7D 

          )7EB75F8G>>KEG4?;FF76F:;EF:63KA8*7BF7?47D  

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   2222222222222222222222
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     5AFF )  DG4?3@
   *5AFF)    DG4?3@                      *F357K A68D7KH3@E
     7AD9;33D&A                       7AD9;33D&A 
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